Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 1 of 32



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 NESLIE I. BERNARDI ORTIZ, et al.,

        Plaintiffs,

                v.                                 CIVIL NO. 15-2989 (PAD)

 CYBEX INTERNATIONAL, INC., et al.,

        Defendants.


                                    OPINION AND ORDER

Delgado-Hernández, District Judge.

       This is an action for damages under Puerto Rico law predicated on diversity of citizenship

pursuant to 28 U.S.C. § 1332 (Docket Nos. 1 and 28). Before the court are two motions for

summary judgment, one seeking dismissal of third-party claims as a result of a settlement

agreement reached between plaintiffs and some of the third-party defendants (Docket No. 236),

the other, filed by non-settling third-party defendants, requesting dismissal on timeliness, improper

impleader, jurisdictional, and what may be characterized as “indirect settlement beneficiary”

grounds (Docket No. 279). The motions generated oppositions, replies and sur-replies. See,

Docket Nos. 277, 300, 323, 333, 334, 339, 352, 357, and 358. For the reasons explained below,

the motion for summary judgment at Docket No. 236 is GRANTED and the motion at Docket No.

279 is DENIED.

                                     I.     BACKGROUND

       Working out at a gym, Neslie I. Bernardi-Ortiz suffered severe injuries, leading her and her

parents and siblings to initiate this action for recovery of damages against Cybex International,

Inc., the manufacturer of the exercise machine that broke on Ms. Bernardi, and Cybex’s insurer,
    Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 2 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 2


Navigators Specialty Insurance Company Code (Docket Nos. 1 and 28).1 Cybex filed a third-party

complaint against: (1) the gym’s owner and/or operator HCOA Mayagüez, LLC, HCOA PR

Management Services LLC, HCOA PR Franchise Holding, TS Fitness PR HoldCo, LLC, Total

Body Fitness PR, LLC and their insurer, MAPFRE-PRAICO Insurance Company; and (2) Fitness

and Spa Solutions, Inc., Fitness Services, Inc., Zayra Sánchez, Milton Esteva, Irwin Rodríguez and

their insurer, Universal Insurance Company (Docket Nos. 14, 48, 140, 142, 263, 264).

            During discovery, plaintiffs settled with MAPFRE, the HCOA entities and TS Fitness PR

HoldCo, as a result of which, the settling defendants moved for summary judgment (Docket No.

236). The remaining third-party defendants (the “Universal defendants”) followed suit, moving

for summary judgment as well (Docket No. 279). Pursuant to Rule 56 of the Federal Rules of

Civil Procedure, summary judgment is appropriate when the record shows no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law. See, Fed R. Civ. 56

(a)(setting forth standard). The issues sub judice consist of legal disputes properly raised by way

of Rule 56 for evaluation and decision.

                                                     II.        DISCUSSION

       A. Bar Order

            In August 2017, as part of case management and ordering of proceedings, the court

prohibited filing of motions for summary judgment except motions related to State Insurance Fund

(i.e. workers’ compensation) immunity (Docket No. 215, pp. 1-2). Subsequently, the parties

moved for summary judgment as indicated above. The settling defendants’ motion is predicated




1   Unless otherwise stated, Cybex and Navigator will be hereinafter collectively referred to as “Cybex.”
 Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 3 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 3


on a settlement agreement entered into after the bar order, and thus, is based on a ground that did

not exist at the time the order was docketed. As such, it falls beyond the scope of the order.

          In contrast, the Universal defendants’ motion for summary judgment was partly filed in

violation of the order, for it is predicated on: (1) the argument that the action is time-barred; (2)

allegedly improper impleader and related jurisdictional grounds; and (3) the theory that the actions

against the Universal defendants cannot subsist in light of the settlement agreement reached

between the plaintiffs by the settling defendants. The court will not consider the timeliness issue

given that, contrary to the other grounds proffered in support of the motion, it is not related to the

court’s jurisdiction or the settlement agreement. In the interest of judicial economy, however, the

motion will not be ordered stricken only to be refiled without reference to arguments regarding the

alleged untimeliness.

     B. Impleader/Jurisdiction

          The Universal defendants allege that the third-party actions which Cybex filed against them

are improper and suggest that if not dismissed, could result in lack of subject matter jurisdiction

due to absence of complete diversity of citizenship between the parties (Docket No. 279, p. 11;

Docket No. 352, p. 2). Pursuant to Rule 14(a) of the Federal Rules of Civil Procedure, at any time

after the commencement of the action, a defending party, as a third-party plaintiff, may cause a

summons to be served upon a person not a party to the action “who is or may be liable to the third-

party plaintiff for all or part of the plaintiff’s claim against the third-party plaintiff.” Fed. R. Civ.

P. 14(a). Third-party practice under Rule 14 is usually referred to as impleader. See, 3 MOORE’S

FEDERAL PRACTICE, § 14.02, p. 14-9 (so noting). It basically permits a defending party to join

an absentee for the purpose of deflecting to that absentee all or part of its potential liability to the

plaintiff on the underlying claim. Id. at § 14.03 [1], p. 14-10. Almost always, this deflection will
 Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 4 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 4


be based on an assertion that the absentee owes the defending party a duty of contribution or

indemnity. Id.

          The right of contribution does not arise until one of the tortfeasors pays more than its share

of liability. Nevertheless, a contingent claim may be filed against any of the other alleged

tortfeasors. Therefore, a tortfeasor may use a third-party action to accumulate a claim against any

potential joint tortfeasor contingent to the result of the principal action. See, MOORE’S, supra, at

§14.05 [2], pp. 14-28-14-29 (Rule 14(a) permits impleader of joint tortfeasors for contribution

before the claim accrues; the fact that defendant’s right has not yet accrued by virtue of paying a

judgment does not affect the sufficiency of its third-party complaint to state a claim for relief).

          Third-party practice fosters efficient litigation by packaging the underlying claim for

liability and any contribution or indemnity claims in a single case, sparing the judicial system and

at least some of the parties the waste and expense of multiple lawsuits. Id. It does not, however,

operate in a vacuum. It is only available when the applicable substantive law provides the right to

pursue the claim against the third-party defendant. See, United Nat. Ins. Co. v. Indian Harbor Ins.

Co., 306 F.R.D. 153, 154 (E.D. Pa. 2015)(liability of third-party defendant depends on relevant

substantive law); Connors v. Suburban Propane Co., 916 F. Supp. 73, 76 (D.N.H. 1996)(Rule 14

is available to bring causes of action recognized under statutory or common law).

          From these parameters, plaintiffs allege that Bernardi was injured while performing squat

exercises using a Cybex Smith Press machine at a gym owned by HCOA Mayaguez LLC (Docket

No. 28, ¶¶ 17, 18). They assert the machine suddenly broke, and a weight of approximately 270

pounds hit Bernardi’s cervical area, causing paraplegia. Id. at ¶¶ 18, 20. They claim Cybex is

strictly liable to them for having designed, manufactured and marketed a defective machine, and

for negligence, as it failed to take appropriate measures to avoid accidents such as the one that
 Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 5 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 5


occurred here, and to provide adequate instructions and warnings of the risks involved in using the

equipment (Docket No. 1, ¶¶ 26, 28, 32, 33, 34, 37, 38, 39).

          Cybex filed third-party claims for contribution and indemnification against the Universal

defendants, alleging that those defendants were responsible for maintaining and servicing the

machine and that plaintiffs’ injuries, if any, were caused by the Universal defendants’ negligent

conduct in failing to observe necessary and routine maintenance of the machine and/or modified

or altered the machine from its original manufactured condition (Docket No. 263, ¶¶ 8, 9, 10,16,

17, 20, 21, 24, 25, 26, 29, 32, 33). Thus, it brought forth allegations upon which the Universal

defendants may be liable to it for all or part of plaintiffs’ claims, by pointing to a direct line of

liability between itself and those defendants, a legitimate line to establish and pursue, given that

Puerto Rico permits tortfeasor contribution. See, Fernández v. Corporación Insular de Seguros,

79 F.3d 207, 210 (1st Cir. 1996)(so recognizing in context of Rule 14(a)).

          Impleader is proper if there is a question as to whether the parties are in fact joint

tortfeasors. See, Arroyo-López v. Hospital Dr. Domínguez, Inc., 262 F.R.D. 93, 96 (D.P.R. 2009)

(so noting). Requiring a district court “to determine the merit of all defenses potentially available

to the original defendant as a precondition to allowing that defendant to file a third-party complaint

would frustrate [the core purpose of Rule 14(a)] and countervail the efficient allocation of judicial

resources.”         Lehman v. Revolution Portfolio L.L.C., 166 F.3d 389, 395 (1st Cir. 1999).

Consequently, the impleader here does not violate Rule 14(a) of the Federal Rules of Civil

Procedure. See, Corning Glass Works v. Puerto Rico Water Resources Authority, Inc., 396 F.2d

421, 423 (1st Cir. 1968)(alleged joint tortfeasor defendant may implead all who by their concurrent

negligence might be liable to him for contribution).
 Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 6 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 6


          The Universal defendants take issue with this conclusion, alleging they are not liable to

Cybex for product liability (Docket No. 279, pp. 13-17; Docket No. 352, pp. 13-15). Admittedly,

what the defendant, third-party plaintiff asserts in its own right must be derivative of some claim

set forth in the plaintiff’s complaint. See, Metropolitan Life Ins. Co. v. Ditmore, 729 F.2d 1, 9 (1st

Cir. 1984)(“[t]hird party claims [are] … by definition logically dependent on the resolution of the

original suit …”). But plaintiffs brought forth claims for product liability and negligence. And

Cybex contends the Universal defendants were negligent in a way that would make them liable to

Cybex as joint tortfeasors for contribution and/or indemnification in the event Cybex is found

liable to plaintiffs (Docket No. 339, p. 17; Docket No. 358, p. 5). In any event, at the end of the

day, the focus on the products liability part of the complaint is immaterial because contribution is

available even when tortfeasors are liable under different theories of liability. See, Lehman, 166

F.3d at 394 (so noting). Rule 14 actions are permitted notwithstanding the fact they do not include

claims based on the same cause of action or theory of liability asserted in the original complaint.

See, Wanta v. Powers, 478 F.Supp. 990, 993 (M.D. Pa. 1979)(acknowledging rule)(citing Judd v.

General Motors Corp., 65 F.R.D. 612 (M.D. Pa. 1974)(third-party complaint based on negligence

properly brought in action where the main claim was based on strict liability in tort). In the end,

the Universal defendants’ argument lacks merit.

          Finally, third-party claims fall within the court’s supplemental jurisdiction over the original

suit. See, Ditmore, 729 F.2d at 9 (recognizing jurisdictional characterization of these types of

claims). That being so, they do not need a separate subject jurisdictional basis to stand. See,

Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, 6 FEDERAL PRACTICE AND

PROCEDURE (2010), CIVIL § 1444, p. 375 (discussing issue). If one were needed, there is

diversity of citizenship between the parties in the original case and between the parties in the
    Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 7 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 7


impleader action. In addition, plaintiffs are not pursuing any remedy in the instant case against

the otherwise third-party defendants.2                        Therefore, the Universal defendants’ jurisdictional

challenge anchored on the impleader fails.

      C. Settlement Agreement

          The settling defendants argue that the settlement agreement requires dismissal of the third-

party actions against them (Docket No. 236). Admitting they are not a party to the settlement

agreement, the Universal defendants nonetheless state the action against them cannot stand in light

of the agreement (Docket No. 279). Cybex opposes both dismissal requests (Docket Nos. 275,

276). As the court sits in diversity, it applies Puerto Rico’s substantive law. See, Commercial

Union Ins. Co. v. Walbrook Ins. Co., Ltd., 41 F.3d 764, 772-773 (1st Cir. 1994)(when sitting in

diversity, a federal court must apply the substantive law of the forum state).

          1. Universal Defendants

          The Universal defendants contend that the settlement agreement extinguishes all claims

against them because Cybex’s claims are contractual in nature, based on a maintenance agreement

between the Universal defendants and the settling HCOA entities, and insofar as the agreement

operates to extinguish Cybex’s claims against the HCOA defendants, the claims against the

Universal defendants must be dismissed (Docket No. 279, pp. 21, 26; Docket No. 339, p. 18).

Cybex’s third-party action is not one for breach of contract. Its claim does not depend on why the

Universal defendants undertook to repair and maintain the Cybex machine, rather than on the

allegation that they did so negligently. See, Docket No. 339, pp. 14-15 (stating proposition).

Hence, the action remains regardless of HCOA’s status as a party in the lawsuit.


2They did sue the settling and Universal defendants in the Mayaguez Part of the Court of First Instance of Puerto Rico. See,
Docket No. 238-1, p. 2; Docket No. 279, Exhibit 6; and Docket No. 335, Exhibit 9.
 Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 8 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 8


          More important, however, whether a settlement agreement extinguishes a claim depends

on the settling parties’ intent. See, Vernet v. Serrano-Torres, 566 F.3d 254, 260 (1st Cir. 2009)(so

observing). The language in the agreement controls. Id. at 261. The release or discharge from

liability granted by a plaintiff to a joint codebtor “does not release the other joint tortfeasors from

liability for the damage when the intention of the parties in the settlement and release agreement

has acknowledged this fact.” Szendrey v. Hospicare, Inc., 158 D.P.R. 648 (2003), Official English

Translation (Attachment I to Opinion and Order), p. 4.

          On this end, Paragraph 1.2 the settlement agreement provides that the release it contains is

intended to inure to the benefit of the MAPFRE RELEASED PERSONS (that is, the settling

defendants) only and not to other parties “including but not limited to, Cybex International, Inc.,

Navigators Specialty Insurance Company, Fitness & Spa Solutions, Inc., Milton Esteva, Zayra

Sánchez, Universal Insurance Company, Fitness Services, Inc. or Irwing Rodríguez Varela”

(Docket No. 238-1, pp. 3-4). Likewise, Paragraph 3.13 clarifies that the release “in no way shall

be interpreted as a release of … Cybex International, Inc.[,] Navigators Specialty Insurance

Company, Fitness & Spa Solutions, Inc., Milton Esteva, Zayra Sánchez, Universal Insurance

Company, Fitness Services, Inc. or Irwin Rodriguez Varela and/or any other insurance carrier.” Id.

at p. 10.

          As indicated earlier, the Universal defendants include Universal Insurance Company,

Fitness & Spa Solutions, Inc., Milton Esteva, Zayra Sánchez, Fitness Services, Inc. and Irwin

Rodríguez Varela. And so, from the language of the settlement agreement it is evident that the

parties thereto did not intend to extinguish any of the claims against the Universal defendants. The

situation is not unlike the one the Puerto Rico Supreme Court evaluated in Merle v. West Bend

Co., 97 P.R.R. 392 (1969).
    Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 9 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 9


          In Merle, plaintiff filed a claim for damages against two different defendants under the

Puerto Rico dealer’s act and general tort statute, and subsequently entered into a settlement

stipulation with one of the codefendants. Id. at pp. 393-394. The remaining defendant, West Bend

Co., requested the dismissal of the complaint against it, arguing that according to the complaint

the defendants were severally liable for the damages and the release in the settlement agreement

benefited West Bend because it was a solidary debtor. Id. at p. 394. The trial court granted the

motion to dismiss (id.), but the Puerto Rico Supreme Court reversed, holding that joint tortfeasors

are not released from liability if the intention of the parties did not contemplate it. Id. at 398-400.

And in that case, they did not intend to release West Bend. Id. at 402-403.

          Applying the same principle, the First Circuit in Vernet, 566 F.3d 245, rejected a

codefendant’s argument that plaintiff’s settlement with the codefendant’s employee, who had

crashed into co-plaintiff’s vehicle, legally extinguished any possible vicarious liability on its part

because in that instance, liability was contingent upon the existence of the employee’s primary

liability, which no longer existed by virtue of the settlement. Id. at pp. 257-258. The First Circuit

examined the language of the settlement agreement, concluding that plaintiffs did not intend for

the settlement with the employee to extinguish their claims against the codefendant. Id. at pp. 260-

261.3 So too here. In consequence, the settlement agreement does not lead to dismissal of Cybex’s

claims against the Universal defendants.

          2. Settling defendants

          Having examined the settlement agreement in connection with the Universal defendants,

the court turns to the effect of the agreement on the plaintiffs, the settling defendants, and Cybex.


3 Plaintiffs were the direct victim of the crash, and her spouse and two sons. See, Vernet, 566 F.3d at 256 & n.1 (identifying
plaintiffs).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 10 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 10


The agreement operates at various levels. As to definitions, Section 1.2 refers to the settling

defendants as MAPFRE RELEASED PERSONS (Docket No. 238-1, p. 3). Concerning release,

Section 3.1 provides that in consideration of the amount to be paid as part of the settlement,

plaintiffs release the MAPFRE RELEASED PERSONS from “all past, present or future claims …

of any kind whatsoever … whether based on a tort, contract, statute or other theory of recovery …

[that] may in any way arise out of, or are in any manner related to the Casualty,” which Section

1.3 defines as “the accident in which Neslie Bernardi was injured on December 11, 2013 at the

HCOA gym in Mayaguez, Puerto Rico.” Id. at pp. 4, 5.

          Section 3.5 addresses the effect of liability on the settling defendants, stating that plaintiffs

“waive the right to recover any damages that may be adjudged or imposed against the MAPFRE

RELEASED PERSONS by way of judgment or otherwise imposed … and agree that: (1) the total

amount of damages which the plaintiffs may obtain by way of judgment in any action against other

non-released tortfeasors or defendants “shall be reduced to the extent of the proportionate share of

liability attributed to the MAPFRE RELEASED PERSONS ....” and (2) “any liability of the

MAPFRE RELEASED PERSONS has been extinguished by virtue of [the agreement] this

Agreement.” Id. at p. 7.

          Moreover, Section 3.5 expresses that “it is the specific intent of the [plaintiffs] to release

the MAPFRE RELEASED PERSONS of any and all liability arising from the Casualty and

Lawsuits, and such release will apply to the MAPFE RELEASED PERSONS not only in the

external relationship between [plaintiffs] and the MAPFRE RELEASED PERSONS, but also in

the internal relationship between joint tortfeasors.” Id. (emphasis in original). Further, it specifies

that plaintiffs “will absorb whatever portion of liability that may be assessed against the MAPFRE

RELEASED PERSONS in the future, if any …. meaning that the MAPFRE RELEASED
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 11 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 11


PERSONS will never have to pay plaintiffs or any non-released joint tortfeasors or their insurers,

or cross-claimants or third-party plaintiffs any amounts over the amounts paid by virtue of [the

agreement].” Id. at pp. 7-8. Furthermore, it states that “it is the express intention of the parties to

[the agreement] that the MAPFRE RELEASED PERSONS … not pay any compensation to

anyone other than the compensation for damages in section 2.1” of the agreement. Id. at p. 8.

          Following the same line, Section 3.6 provides that plaintiffs agree to hold harmless

MAPFRE RELEASED PERSONS against any liens, claims, suits, demands, liabilities, judgments,

decrees, awards, and causes of action of whatever kind or nature, which arise from or relate to,

directly or indirectly, the injuries allegedly suffered by the plaintiffs from the casualty, which may

be brought by any party or entity as a result of medical services or benefits provided to plaintiffs,

a provision that the same section indicates is “intended to encompass and include claims or

demands brought by any provided or medical, psychiatric, rehabilitative, or other services, any

other person, party, or entity seeking to enforce subrogation, contribution, and/or indemnity rights

against the MAPFRE RELEASED PERSONS, and any person, party, or entity claiming to be

entitled to damages or benefits as a result of the Casualty.” Id.

          As to disposition, Section 6.1 expresses that in “the case filed before the U.S. District Court

…, the MAPFRE RELEASED PERSONS will file a Motion requesting dismissal of the Third-

Party Complaints filed by other parties against MAPFRE RELEASED PERSONS notifying that

an agreement has been reached between MAPFRE RLEASED PERSONS and [p]laintiffs.

Plaintiffs will not oppose such request and authorize the MAPFRE RELEASED PERSONS to

represent in the motion [p]laintiffs’ support of the same.” Id. at p. 11. Additionally, it provides

that “[t]he parties … agree to provide reasonable cooperation, including to provide non-privileged

documents and to make witnesses available in the lawsuits and execute any and all supplementary
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 12 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 12


documents and to take all additional action which may be necessary or appropriate to give full

force and effect to the basic terms and intent of this settlement agreement or to any related claims.”

Id. at p. 12. The settlement agreement is comprehensive, covering all relevant aspects of liability

to justify dismissal.

                i. Solidarity

          In Puerto Rico, when the tortuous acts or omissions of more than one person have

adequately caused a harm, each of the tortfeasors is solidarily liable to the plaintiff for the harm

done. See, Tokyo Marine and Fire Ins. Co., Ltd. v. Pérez & Cía., de Puerto Rico, Inc., 142 F.3d 1,

8 (1st Cir. 1998)(discussing concept).4 Solidarity originates in Roman Law. See, Fraguada Bonilla

v. Hosp. Aux. Mutuo, 2012 TSPR 126, Certified English Translation (Attachment II), pp. 12-13

(so noting). The term emanates from the latin in solidum, defined as the whole of a sum. Id. at

13. Its defining features are laid forth in the Civil Code. See, Tokyo Marine and Fire Ins. Co.,

Ltd., 142 F.3d at p. 5 & n.4 (citing relevant civil code provisions); Zurich American Ins. v. Lord

Elec. Co. of Puerto Rico, 828 F.Supp.2d 462, 469 & n.11 (D.P.R. 2011)(same).

          Solidarity generates two types of effects: primary and secondary. Primary effects include

the unity of debt and plurality of links. See, Fraguada Bonilla (Attachment II) at p. 14. Secondary

effects refer to interruption of the statute of limitations and of delay, and the promise of compliance

of all of the joint and several debtors. Id. These effects do not apply to extracontractual liability,

which is considered imperfect in cases involving persons who do not know each other, who are

merely accidental co-debtors or when their relations are sporadic. Id. at p. 15. In those instances,




4 Adequate cause, a concept similar to proximate cause, permits the fact-finder to conclude that two or more persons “have caused”
a harm on equal or different shares or degrees. Tokyo Marine and Fire Ins. Co., Ltd., 142 F.3d at p. 6 & n.5.
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 13 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 13


each of the tortfearsors’ liability is autonomous or independent from that of the others. Id.

However, each of them is jointly liable to the injured party for the totality of the damages awarded.

Id.

          With this in mind, an obligation is solidary among debtors when each debtor is considered

in his relation with the creditor as debtor of the entire performance, obliged in totum ex totalier.

Because each solidary debtor is bound for the whole of the debt as if it were the only debtor, the

creditor has the right to demand payment of the entre credit from any of the debtors it chooses.

See, Zurich America Ins., 828 F.Supp.2d at 469 (acknowledging creditor’s prerogative). The

solidary debtor who has paid in excess of its portion of the debt has the right to demand

contribution from the remaining debtors to recover the excess amount paid. Id.5 The right “extends

to insurers standing in the stead of a tortfeasor.” Reyes-López v. Misener Marine Const. Co., 854

F.2d 529, 534 & n.23 (1st Cir. 1988). Thus, solidarity results in an external relationship between

the creditor and the debtors making each of the debtors liable for the entire obligation, and in an

internal relationship among the debtors, wherein each debtor is liable for its own proportion of

fault or negligence. See, Quilez-Velar (Docket No. 317, Exhibit 1)(Attachment III) at p. 7

(describing relationships). The parties may work this configuration into settlement agreements

involving less than all of the solidary tortfeasors.

          ii. Effect of Agreement

          Where a plaintiff expressly releases one tortfeasor from all liability in the case –internal

and external– which may arise with respect to the tortious act subject of the claim, it is considered




5The right to contribution is known as “nivelación” (leveling), Wojciechowicz v. United States, 474 F.Supp.2d 291, 295 (D.P.R.
2007), and reimbursement, repayment, or return. See, Quilez-Velar v. Ox Bodies, Inc., 2017 TSPR 165, Certified English
Translation (Docket No. 317, Exhibit 1)(Attachment III), p. 7 (so noting).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 14 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 14


both a release of liability from the plaintiff to the settling joint tortfesor and a release of liability

as between joint tortfeasors, with the plaintiff absorbing the portion of liability attributed to the

settling tortfeasor. See, Fonseca v. Inter-American Hospital for Advanced Medicine, 2012 TSPR

3, Certified English Translation (Attachment IV), pp. 11-12 (explaining settlement agreement). In

those cases, the plaintiff is estopped from collecting that portion of liability out of the non-settling

tortfeasors. Id.

          Those tortfeasors will only be liable for their percentage of liability after subtracting the

amount of the released tortfeasor’s portion of liability, not for the total amount of damages. Id. at

p. 12. Correspondingly, the non-released tortfeasors cannot move for contribution against the

tortfeasors that were released from liability. Id. And by the same account, the settling tortfeasor

may not obtain contribution from the nonsettling tortfeasor because its payment did not discharge

any part of that tortfeasor’s debt. See, Diggs v. Hood, 772 F.2d 190, 196 (5th Cir. 1985)(so

observing under the Louisiana Civil Code and Code of Civil Procedure).6 Accordingly, the action

of contribution would no longer be viable as a matter of law.7

          In those settings, the plaintiff assumes the risk that the amount of the released tortfeasor’s

share of liability will be greater than that received in exchange for the release of liability, while the

released tortfeasor assumes the risk that the amount of its share of liability will be less than the

amount paid in exchange for the release. See, Fonseca, 2012 TSPR 3 (Attachment IV), p. 6

(discussing risks). In addition, if the released tortfeasor is ultimately found not liable, he will not


6The Louisiana Civil Code “shares a common parentage with the Puerto Rico Civil Code in that they are both derived from the
Napoleonic Code.” Tokyo Marine and Fire Ins. Co., 142 F.3d at 4 & n.1.
7 The Puerto Rico Supreme Court discussed and validated these principles not only in Fonseca (Attachment IV) and Szendrey
(Attachment I), but also in U.S. Fire Insurance v. A.E.E., 174 D.P.R. 219 (2008), Certified English Translation (Attachment V), and
Sagardía de Jesús v. Hosp. Aux. Mutuo, 177 D.P.R. 484 (2009), Certified English Translation (Attachment VI). Where appropriate,
for ease of reference the court will refer to this type of settlement agreement as Szedrey agreement.
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 15 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 15


be entitled to recover the amount paid, nor may the non-released tortfeasor demand a deduction of

the amount paid by the released tortfeasor found not liable, allowing plaintiff to receive the gain.

Id. at pp. 12-13.

          The settling defendants do not have to remain parties in the action, as the nonsettling

defendant effectively obtained contribution from the settling defendants by having assessed against

it only its own percentage of liability. Id. In those conditions, the third-party complaint cannot

survive because the settling third-party defendants would not be liable to the third-party plaintiff

for “all or part of the plaintiff’s claim against the third-party plaintiff” as is required to maintain

an impleader action under Rule 14(a) of the Federal Rules of Civil Procedure. See, Szendrey, 158

D.P.R. 648, Certified English Translation (Attachment I)(pointing out that if the codefendant that

remains in the action is liable to plaintiff only for the share that represents its degree of contribution

to the cause of the damage, a third-party complaint is as unnecessary as it is untenable).

          The First Circuit has upheld similar agreements, characterizing them as Pierringer releases,

following the Wisconsin’s Supreme Court’s decision in Pierringer v. Hoger, 124 N.W.2d 106 (Wis.

1963). See, Austin v. Raymark Industries, Inc., 841 F.2d 1184, 1189 (1st Cir. 1988)(examining

Pierringer agreement). As the First Circuit explained, in Pierringer the plaintiff in a tort action

settled with all but one defendant before trial. Id. The settling defendants then filed a motion

before trial to dismiss the cross-complaints for contribution filed against them by the one

remaining defendant. The trial court granted the settling defendants’ motions, for which the

nonsettling defendant appealed. Id. The Supreme Court of Wisconsin ruled that the releases

plaintiff executed preserved the plaintiff’s cause of action against the nonsettling defendant, while

barring the nonsettling defendant’s right to contribution from the settling defendant. Central to

the court’s reasoning was the fact that the releases satisfied a part of the cause of action against the
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 16 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 16


nonsettling defendant in an amount equivalent to the settling defendants’ proportionate liability.

Id.

          Shifting focus, plaintiffs (i) released the settling defendants from all potential liability

toward the plaintiffs (external relationship) and toward any third-party plaintiffs (internal

relationship) with respect to all claims and damages arising out of the accident that Ms. Bernardi

suffered in the HCOA gym in Mayaguez; and (ii) assumed and absorbed any liability that may be

found against the settling defendants by way of judgment of otherwise. Further, the settling parties

agreed that any future amount imposed against the non-settling tortfeasors would be reduced by

way of the proportionate share of liability attributed to the settling tortfeasors such that in the end,

the non-settling defendants would only be liable to the plaintiffs for their proportionate degree of

liability, making the third-party complaint “unnecessary and untenable” as in Szendrey

(Attachment I) at p. 6.

          On this record, dismissal of the third-party actions against the settling defendants follows

as a matter of law. See, Alumax Mill Products, Inc. v. Congress Financial Corp., 912 F.2d 996,

1010-1011 (8th Cir. 1990)(dismissing cross-claims for contribution and indemnity against settling

defendants, as pursuant to settlement agreement, the non-settling defendant would only be liable

for its own proportionate share of damages and no longer needed the protection of its cross-claims

for contribution and indemnity); Bordelon v. Consolidated Georex Geophysics, 628 F.Supp. 810,

811-813 (W.D. La. 1986)(summary judgment dismissing third-party complaint against settling

tortfeasor because the effect of the settlement was to reduce from any judgment against the

nonsettling tortfeasor the proportion of fault attributable to the settling tortfeasor).8


8 See also, Valet v. City of Hammond, 577 So. 2d 155, 160-161 (La. App. 1991)(summary judgment dismissing third-party claim
for contribution as that right was lost as a result of settlement and release of solidary obligor, where obligee’s recovery would be
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 17 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 17


          iii. Cybex’s Objections.

          Cybex objects to dismissal of the third-party complaint against the settling defendants on

various grounds.            In general, non-settling defendants “lack standing to object to a partial

settlement.” Alumax Mill Products, Inc., 912 F.2d at 1001. An exception, however, has been

carved to benefit non-settling defendants to the extent they demonstrate that they will sustain some

legal prejudice as a result of the settlement. Id. at 1002. So courts recognize that a non-settling

defendant has standing to object to a partial settlement which purports to strip it of a legal claim

or cause of action such as an action for contribution or indemnity. Id. On that basis, the court

accords Cybex standing to object to the settlement and consequent dismissal of the third-party

complaint against the settling defendants. Having credited standing, Cybex’s objections follow.

          First, Cybex asserts that plaintiffs and the settling defendants cannot by contracting

between themselves, deny a third party like Cybex the rights it enjoys under the law (Docket No.

277, p. 2; Docket No. 323, p. 2). The assertion is accurate, see Río Mar Associates LP, SE v. UHS

of Puerto Rico, Inc., 522 F.3d 159, 164 (1st Cir. 2008)(so acknowledging), but of no consequence

in the present case, as the settlement agreement does not deprive Cybex of any rights. In the end,

it will only pay for its proportionate share of liability, no more than if all defendants had gone to

trial. See, Pierringer, 124 N.W. 2d 106 (granting settling defendants’ motion to dismiss cross-

complaints for contribution filed against them by the one remaining defendant, given that

defendant effectively obtained contribution from the settling defendants by having assessed against

it only its own share of liability, and as long as the causal negligence of all the relevant parties is

determined by the jury, there is no requirement that a settling defendant remain a party to the suit).



reduced by the amount corresponding to the released obligor’s portion of fault).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 18 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 18


          Second, Cybex argues the settlement agreement is tantamount to a waiver of Cybex’s

claims against the settling defendants (Docket No. 277, pp. 10-11), a result contrary to the holding

of Febles Montalvo v. Pérez Cordero, 2011 WL 5166431 (TCA), Certified English Translation

(Docket No. 277, Exhibit 6)(Attachment VII), p. 6. Cybex’s reliance on Febles Montalvo is

misplaced. In that case, a panel of the Puerto Rico Court of Appeals affirmed a trial court’s

decision to dismiss plaintiffs’ claims against a codefendant, Reyes Contractor. Id. at p. 3. Plaintiffs

had sued several entities, one of which, the Highway Authority (“HA”), filed a third-party

complaint against Reyes Contractor alleging that, if it were held liable for plaintiffs’ damages,

Reyes Contractor would be directly responsible to plaintiff or would have to reimburse HA for any

sum of money it had to pay. Id.

          Plaintiffs amended the complaint to include direct allegations against Reyes Contractor (id.

& n.2) and entered into a settlement agreement with it, leading the trial court to dismiss all claims

against Reyes Contractor. Id. at p. 3. HA sought reconsideration, arguing, among other things,

that it had not waived the right to pursue its claim against Reyes Contractor. Id. The trial court

reconsidered its prior decision and dismissed only plaintiffs’ claims against Reyes Contractor,

rather than all claims against it. Id. The appellate panel affirmed the trial court’s ruling, noting

that it was “legally impossible” for the parties to the settlement agreement to have released Reyes

Contractor and its insurers from all liability. Id. at p. 8. For that reason, Cybex argues that

“[p]laintiffs are free to abandon any claims they might have against [the settling defendants] but

they cannot do the same with respect to Cybex’s … claims” (Docket No. 277, pp. 11-12).

          As relevant, the settlement agreement at issue in Febles Montalvo stated that: (1) plaintiffs

released Reyes Contractor and its insurer (Mapfre-Praico) from all liability toward them for the

damages alleged in the Complaint; (2) if Reyes Contractor was found at fault in any degree,
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 19 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 19


plaintiffs waived their right to claim from Reyes Contractor and its insurer that part of the judgment

attributable to Reyes Contractor’s fault or negligence; (3) plaintiffs would only collect from HA

and any other liable party that part of the judgment attributable to those parties’ fault; and (4) Reyes

Contractor would not have to pay plaintiffs or the remaining defendants by way of contribution,

leveling, or any other concept. See, Febles Montalvo (Docket No. 277, Exhibit 6)(Attachment

VII), at pp. 6-7 (describing settlement agreement). The appellate panel limited dismissal to

plaintiffs’ claims against Reyes Contractor, refusing to extend the effect of the settlement

agreement to other claims referred to therein because, for the panel, it was “legally impossible”

for settling parties to waive other parties’ claims. Id. at p. 8.

          As a general proposition that may be true, but without more, it does not account for the

need to examine under the Szendrey framework, the consequences of a plaintiff’s waiving claims

against a third-party defendant and of binding itself to limit collection to that part of the judgment

attributable to the remaining defendants’ proportionate share of liability, thus reproducing the net

result derived from application of solidarity rules under the Puerto Rico Civil Code. To that extent,

the “legally impossible” proposition runs counter to the Puerto Rico Supreme Court’s express

holding that in the settlement agreement, “the victim may release the co-causer of all liability …

toward the victim as well as in the internal relationship between co-causers.” U.S. Fire Insurance

Co. (Attachment V), at p. 9. When that occurs, “the victim assumes the portion of liability that is

attributed to the released co-causer … [and] the other co-causers of the damage cannot recover

from the released co-causer an[y] amount whatsoever.”                   Similarly, in Sagardía de Jesús

(Attachment VI), the Supreme Court expressed that if “the victim releases a co-defendant from all

liability to the victim as well as to the liability existing between the codefendants,” by assuming
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 20 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 20


the share of liability attributed to the released tortfeasor, the remaining tortfeasors cannot recover

anything from the released tortfeasor. Id. at 7.

          The appellate panel did not articulate any principled basis to bypass these holdings –none

exists– making that part of its ruling unpersuasive to support the proposition for which Cybex has

cited it. However, the panel looked beyond the settlement agreement to focus on the contractual

arrangements that linked Reyes Contractor to HA, which fully explains the result reached. In that

sense, it observed that there were insurance policies issued by Mapfre-Praico in favor of Reyes

Contractor that were made extensive to HA. See, Febles Montalvo (Exhibit No. 277, Exhibit

6)(Attachment VII), at p. 8 (describing policies). Moreover, pursuant to a Certificate of Insurance,

Reyes Contractor had released HA and bound itself and its insurance company to provide HA with,

and bear the cost of, legal representation, and to paying any judgment against HA.                 Id.

Furthermore, Reyes Contractor had included HA as an additional insured in its insurance policies.

Id. On that record, neither plaintiffs nor Reyes Contractor or Mapfre-Praico could have waived

Reyes Contractors’ contractual commitments to pay for HA’s share of judgment, costs and

attorney’s fees, unless HA agreed to it, and it had not. But that is not where Cybex stands, because,

so far as the parties have represented and the court ascertained, none of the settling parties ever

entered into a contract assuming Cybex’s share of the judgment, costs, and attorney’s fees.

          Third, Cybex argues that it would be premature to dismiss its third-party claims against the

settling defendants, for in Río Mar, 522 F.3d at 165-166, the First Circuit allowed a non-released

defendant to maintain a cross-claim for contribution under a successive tortfeasor liability

scenario, recognizing that Szendrey, 2003 TSPR 18 (Attachment I), did not provide “sweeping

condemnation of all contribution claims under all circumstances” (Docket No. 277, p. 10). In that

way, it posits that it would be “inappropriate to allow dismissal of its contribution and
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 21 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 21


indemnification claims on the basis of Szendrey alone.” Id. Neither Río Mar nor Szendrey

precludes dismissal of the actions Cybex filed against the settling defendants.

          In Río Mar, plaintiffs sued a hotel and a hospital; defendants filed cross-claims against each

other; and prior to trial the hospital settled with plaintiffs through a Pierringer release. See, 522

F.3d at 161-162 (describing procedural background). Plaintiff filed a notice of voluntary dismissal

against the hospital, which was granted. Id. The district court then decided to bifurcate the case

in two phases, with a first trial on the action against the hotel, and a second trial “for any damages

that the hospital may have caused. Id. at 161. Nevertheless, after the jury returned a $1,844,000

verdict in favor of plaintiff, the district court entered judgment against the hotel for the total amount

of the verdict, denied its motion for a setoff, and dismissed its cross-claim. Id. at pp. 161-162.

The First Circuit reversed to allow the second trial to proceed in order to fix the proportionate

share of the hotel and hospital’s liability (id. at p. 168) because the hotel was the only defendant

at trial, the evidence presented pertained to the hotel’s negligence and involvement in the events

leading to plaintiff’s injury, the jury was instructed to consider damages only as to the hotel (id. at

p. 162), and the hotel was entitled to some process by which it could test how the plaintiff’s total

damages should be allocated between it and the hospital. Id. at p. 164.

          In Szendrey (Attachment I), plaintiff reached a settlement agreement with one of the

codefendants (Hospicare). After examining the terms of the agreement, the trial court dismissed

the complaint against Hospicare.                      A co-defendant – INDECA – unsuccessfully requested

reconsideration and in the alternative, leave to file a third-party complaint against Hospicare. The

court of appeals reversed the trial court, concluding that the third-party complaint was in order

inasmuch as allegedly all of the defendants were joint tortfeasors with respect to the damages

claimed, and the determination of their proportional share of liability required that all of them be
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 22 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 22


parties to the action. Otherwise, according to the appeals court, the principle of procedural

economy would be impaired because once damages were awarded, INDECA would have to file a

separate, post-litigation action for contribution.

          The Puerto Rico Supreme Court reversed, upholding the trial court’s determination. The

Supreme Court pointed out that plaintiffs had: (1) released Hospicare from: (i) all liability arising

from the facts of the case relevant to the action; (ii) the damages claimed; and (iii) claims or

judgments in favor of plaintiffs to recover from Hospicare, while (2) reserving their right to

continue litigation against the other codefendants. Id. at p. 6. As a result, it concluded that even

if the final judgment to be rendered in due course found that the non-settling codefendants

contributed along with Hospicare to plaintiff’s damages, the third-party complaint was not

necessary or tenable because the judgment would have to assess the total cash value of the damage

caused to plaintiffs by all of the tortfeasors, and deduct from that amount a sum equivalent to

Hospicare’s degree of liability. Id. at pp. 6-7.

          On this account, the key question in Río Mar and Szendrey focused on the need to

determine the degree or portion of liability of the settling defendant in light of the structure of the

agreement the settling parties had subscribed. As such, they do not preclude dismissal in order to

allow Cybex “to determine the settling defendants fault” (Docket No. 323, p. 3). On the contrary,

consistently with their holding, Cybex will be given the opportunity to establish at trial, in the

absence of the settling defendants as a party, its own share, if any, of liability in accordance with

Puerto Rico law. See, Quilez-Velar, 2017 TSPR 165, Certified Translation (Docket No. 317,

Exhibit 1)(Attachment III)(validating reduction of damages on account of an absent party’s

proportionate share of liability).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 23 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 23


          Quilez-Velar is instructive. In that case, plaintiffs sued Ox Bodies in federal court under a

theory of products liability and other non-diverse defendants and the Municipality of San Juan in

state court under Puerto Rico’s general tort statute. Id. at p. 1. Ox Bodies filed a third-party

complaint against the Municipality, the Municipality deposited in court the statutorily imposed

monetary cap of its insurance liability ($500,000), and the case proceeded to trial without the

Municipality as a party.9 The jury returned a $6,000,000 verdict for plaintiffs, allocating 80% of

liability to the Municipality and 20% to Ox Bodies. The Puerto Rico Supreme Court held that Ox

Bodies was entitled to a reduction of the award in proportion to the Municipality’s proportionate

share of liability, making it liable for $1,200,000. Id. at pp. 1-2; 4-5.

          Cybex argues that Quilez-Velar is distinguishable because it involved a government entity

which had imposed by law a statutory cap on its liability, the codefendant’s claim for contribution

was barred by statute, not by a private settlement agreement, and the co-defendant was unable, by

operation of law, to recover from the government on a theory of contribution as a result of a law

that was held akin to statutory employer indemnity (Docket No. 323, p. 4). Those are distinctions

devoid of significance, as the basic point is that the jury validly allocated each of the codefendants’

degrees of liability even though one of those defendants was no longer a party in the case. On that

basis, see Stefano v. Smith, 705 F.Supp. 733, 737 (D. Conn. 1989)(applying comparative-fault rule

to hold that a defendant who settles and against whom the complaint is accordingly withdrawn is

no longer a party to the action, but that does not prohibit a remaining codefendant to introduce

evidence at trial that a person who is not a party to the lawsuit is responsible for the harm incurred;


9 The Puerto Rico Autonomous Municipalities Act, Law No. 81 of August 30, 1981, as amended, P.R. Laws Ann. tit. 21 § 4704,
specifies that autonomous municipalities shall only answer for a maximum of $75,000 per person or $ 150,000 where damages
have been caused to more than one person or in cases of several causes of action. If the municipality has obtained liability insurance,
it shall answer up to the maximum amount of the coverage pursuant to the Puerto Rico Insurance Code, P.R. Laws Ann. tit. 26 §
2004.
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 24 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 24


hence, the non-settling codefendant may introduce evidence that the injury was caused by the fault

of that other person); and Zurich America Ins., 828 F.Supp.2d at 470-471 (specifying in dismissing

third-party complaint, that to the extent third-party plaintiffs established the third-party

defendant’s share of liability, their contribution would be reduced accordingly).10

          Fourth, Cybex states it has the right to proceed with its contribution claims because the

contribution claims in Szendrey were brought after the settlement and Cybex brought its third-

party complaints before settlement was reached (Docket No. 323, p. 3). Unless there is a potential

statute of limitations issue, the date an impleader is brought is not material, for settlement

agreements may be entered into at any point before judicial action is initiated or thereafter, prior

to trial or after trial. See, Fleming v. Threshermen’s Mut. Ins. Co., 388 N.W. 2d 908, 910 (Wis.

1986)(noting that many defendants settle before a plaintiff commences suit against other

tortfeasors such that it would be counterproductive to require a defendant to insist that a plaintiff

commence suit prior to settlement in order that cross-claims could be filed before settlement); U.S.

Fire Insurance, 2008 TSPR 160 (Attachment V), p. 2 (settlement after the trial court granted

complaint ordering payment of the amount claimed therein); Sagardía de Jesús, 2009 TSPR 173

(Attachment VI) p. 3 (settlement before trial). So too a tortfeasor may bring forth a contribution

action either within the same suit where judgment was entered determining the solidarity of the

obligation or through an independent suit. See, Wojciechowicz, 474 F.Supp.2d at 295 (discussing




10See also, Austin Ex Rel. Soiett v. Universal Cheerleaders Ass’n, 812 A. 2d 253, 255 & n. 1 and 2 (Me. 2002)(Pierringer release
does not preclude submission of the issue of the released tortfeasor’s fault to the fact-finder in a suit against the a nonsettling
tortfeasor; the released defendant is entitled to be dismissed with prejudice from the case but trial court must preserve for the
remaining parties a fair opportunity to adjudicate the liability of the released and dismissed defendant); Valet, So. 2d at 161 (non-
settling obligor entitled to have trial court determine settling obligor’s percentage of fault and have amount of award reduced by
that percentage).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 25 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 25


and applying formulation). The effects of the settlement agreement do not change with the timing

of the underlying action.

          Fifth, Cybex claims that Puerto Rico recognizes different multi-tortfeasor scenarios that

may need to be treated differently, positing that: (i) the potential liability of, and among the parties

is not clear; (ii) plaintiffs theory of the case is a mystery; (iii) the parties’ responsibilities are open-

ended; and therefore (iv) it is uncertain which if any of the multi-tortfeasor scenarios this case

presents (Docket No. 277, p. 4). And so it maintains that until certainty or more certainty is

reached, the settling defendants’ dismissal request is “premature at best and must be denied.” Id.

          The argument is unavailing, given that extracontractual solidarity “does not presuppose

that the scope or source of liability is identical for each solidary debtor.” Tokyo Marine and Fire

Ins. Co., Ltd., 142 F.3d at 6. It may operate even when the creditors and the debtors are not bound

in the same manner, for the same periods and under the same conditions, to the point that solidary

debtors may be obligated in different degrees. Id. An obligation may be in solido notwithstanding

the fact that the obligations of the obligors arise from separate acts or by different reasons. See,

Joiner v. Diamond M. Drilling Co., 688 F.2d 256, 263 (5th Cir. 1982)(so holding under the

Louisiana Civil Code). In this light, a settlement agreement involving releases as to both the

external and internal aspects of the solidary obligation makes the parties’ ultimate theory of

liability irrelevant, by protecting the non-settling tortfeasor from paying more than its portion of

liability. Therefore, the right to contribution is recognized even when tortfeasors are “liable under

different theories of tort liability.” Lehman, 166 F.3d at 394.11 This formulation fits Río Mar and


11See also, Vélez v. Cessna Aircraft Company, 2011 WL 13234190, *1, *4 (D.P.R. 2011)(aircraft manufacturer solidarily liable in
Puerto Rico with aircraft operators and those who provided maintenance to the aircraft in a case for damages resulting from a fatal
crash that killed all on board). Thomas v. W &W Clarklift, Inc., 375 So.2d 375, 377-378 (La. 1979)(in Louisiana, two defendants
may be solidarily liable even if sued under different theories of law, one for breach of warranty and negligence, and the other for
negligence).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 26 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 26


subsequent developments in Puerto Rico.

          On this end, Río Mar evaluated the effect of a partial settlement based on a Pierringer

release in a successive tortfeasor setting, which it distinguished from garden-variety joint tortfeasor

scenarios, applying the proportional-share rule used in case of joint tortfeasors because the

Pierringer release “molds the successive tortfeasor scenario into one strongly resembling” joint

tortfeasor situations where each defendant is “ultimately responsible only for its proportionate

share of overall damages.” Id. at pp. 165-166. It described the situation of tortfeasors linked only

by principles of vicarious liability as less easily resolved, as from its perspective, when one

tortfeasor is vicariously liable for the actions of another, the same damages are by definition

attributed to each of the tortfeasors. Id. at p. 165.

          After Río Mar, the Puerto Rico Supreme Court decided Sagardía de Jesús (Attachment VI),

which validated the use in a vicarious-liability setting of the offset rule, when the trial court permits

nonsettling tortfeasors to present evidence regarding the settling defendants’ percentage of

responsibility, a development the First Circuit acknowledged in Gómez v. Rodriguez-Wilson, 819

F.3d 18, 22-23 (1st Cir. 2016). Most recently, in Fonseca (Attachment III), the Puerto Rico

Supreme Court looked into the effect of a settlement agreement in a vicarious liability scenario

where a hospital was found jointly liable with the defendant doctors. The plaintiffs and the doctors

settled, the plaintiffs reserving their right to collect against the hospital in proportion to the

hospital’s fault. However, the hospital was deemed released by the settlement agreement, for no

evidence was presented that the hospital was at fault in any degree.

          Closing the circle, all multi-tortfeasor scenarios referred to in Río Mar –those involving

garden-variety joint tortfeasors, successive tortfeasors, and tortfeasors joined by principles of

vicarious liability– lead to the same result: payment of damages subject to each of the tortfeasors’
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 27 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 27


proportionate degrees of fault, without regard to the parties’ theories of liability. In consequence,

that different liability scenarios may exist does not preclude dismissal. See, Safeway Stores v.

Nest-Kart, 579 P.2d 441-443 (Cal. 1978)(applying principles of comparative negligence to

apportion responsibility between a strictly liable defendant and a negligent defendant, as well as

between multiple negligent defendants).12

          Sixth, Cybex contends that: (i) contribution is different than indemnity; (ii) it has sued the

settling defendants not only for contribution but also for indemnity; and hence, (iii) it is entitled to

maintain the indemnity action because it is not liable at all, much less liable in concert with the

settling defendants (Docket No. 277, pp. 6, 8-9). It states that indemnification is not only viable

but in its view, a likely outcome of this litigation. Id. An action for contribution shifts part of the

loss depending on the comparative responsibility of the parties. See, Doyle v. Rhodes, 451 N.E.

2d 382, 390 (Ill. 1984)(so noting). Indemnity has the effect of shifting the entire loss from the

defendant to another party. Id. It “. . .enures to a person who, without active fault of his own part,

has been compelled by reason of some legal obligation to pay damages occasioned by the initial

negligence of another,” thereby permitting the person made responsible for the payment to move

against the author of the damage for recovery of the amounts spent in the discharge of its liability.

Lucas v. Hackett Associates, Inc., 18 F.Supp.2d 531, 535 (E.D. Pa. 1998).13




12
  Puerto Rico is a “comparative-negligence jurisdiction.” Rodríguez v. Señor Frog’s de la Isla, Inc., 642 F. 3d 28, 37 (1st Cir.
2011); Candelario Del Moral v. UBS Financial Services Incorporated of Puerto Rico, 2016 WL 1275038, * 25 (D.P.R. April 6,
2016)(discussing concept).

13
   See also, Restatement, Restitution § 96, at 418 (1937)(a person who, without personal fault, has become subject to tort liability
for the unauthorized and wrongful conduct of another, is entitled to indemnity from the other for expenditures properly made in the
discharge of such liability); 2-1 Planiol, Treatise on the Civil Law, Louisiana State Law Institute (1959), § 913, pp. 513-514 (the
person made responsible for another has an action against the author of the damage, which it may institute if held liable).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 28 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 28


          Indemnity may arise contractually, and where it has been recognized, extracontractually.

See, Gibbs-Alfano v. Burton, 281 F.3d 12, 20 (2d Cir. 2002)(referring to contractual and “common

law” indemnity). However, no indemnity contract has been alleged or demonstrated to exist in

this case. So, relying on Cortijo-Walker v. Water Resources Authority, 91 P.R.R. 557 (1964), the

settling defendants argue that: (i) there is no discernible or practical distinction between

contribution and noncontractual indemnity in Puerto Rico; (ii) any indemnity claim against them

would fail; and (iii) in consequence, it poses no impediment to dismissal (Docket No. 33, p. 5).14

          In Cortijo Walker, the Puerto Rico Supreme Court stated that the technical distinction

between the concepts of contribution and indemnity for all practical purposes “may seem to be

cutting it a bit fine.” Id. at 565. In like manner, Pierringer-type releases have been held to impute

to the plaintiff whatever liability in contribution or indemnity the settling joint tortfeasor may have

to the nonsettling joint tortfeasor, and to bar subsequent contribution or indemnity actions the

nonsettling joint tortfesor might assert against the settling joint tortfeasor. See, Brandner by

Brandner v. Allstate Ins. Co., 512 N.W. 2d 753, 762 (Wis. 1994)(so acknowledging). Furthermore,

the First Circuit has pointed out that “by definition and extrapolation” noncontractual indemnity

claims are in effect, “only a more extreme form of [a claim] for contribution.” U.S. v. Cannons

Engineering Corp., 899 F.2d 79, 92 (1st Cir. 1990). By extension, it makes no difference whether

a tortfeasor demands contribution of 90% of the damages if found 10% liable or of 100% if found

liable on a theory of vicarious or analogous liability, without evidence of fault.



14Cybex moved to strike the reference to Cortijo-Walker because the settling defendants did not provide the court with a certified
English translation of the case (Docket No. 323, pp. 4-5). The request must be denied. Cybex should know that Puerto Rico
Reports (P.R.R) are official translations of the “Decisiones de Puerto Rico,” that is, of the decisions of the Puerto Rico Supreme
Court. See, Aybar v. F&B Mfg. Co., Inc., 498 F.Supp. 1184, 1193 & n.18 (D.P.R. 1980)(explaining term). They have been cited
by the First Circuit –see, Alcoa Steamship v. Pérez Rodríguez, 376 F.2d 35, 39 (1st Cir. 1967)– and this court. See, Aybar, 498
F.Supp. at 1193.
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 29 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 29


          The 90% scenario involves partial contribution whereas the 100% scenario, the one

typically associated with indemnity, is but total contribution. See, In re U.S. Oil and Gas

Litigation, 967 F.2d 489, 495 (11th Cir. 1992)(finding no principled distinction between bar orders

against contribution and orders against indemnity); Austin Ex Rel. Soiett v. Universal Cheerleaders

Ass’n, 812 A.2d at 255 (a Pierringer release enables a plaintiff to settle with one defendant without

releasing a nonsettling defendant from liability, allowing the settling defendant to avoid becoming

liable to the nonsettling defendant for contribution or indemnity). And because Cybex’s claims

for contribution can validly be barred in the course of implementing a Szendrey/Pierringer

agreement,15 its claim for “total contribution, i.e., indemnity, can likewise be foreclosed.” See, In

re U.S. Oil and Gas Litigation, 967 F.2d at 92-93 (so holding); Alumax Mill Products, Inc., 912

F.2d at 1010-1011 (dismissing cross-claims for contribution and indemnity against settling

defendants, as pursuant to settlement agreement the nonsetting defendant would only be liable for

its own proportionate share of damages).

          Seventh, Cybex states it should be entitled to recover costs and attorney’s fees from the

settling defendants “as part of its claim for noncontractual indemnification” (Docket No. 323, pp.

5-6). The general “American Rule” is that each side bears its own litigation costs and that the

prevailing party is not entitled to recover attorney’s fees. See, In re Puerto Rican Cabotage

Antitrust Litigation, 815 F.Supp.2d 448, 457 (2011)(so noting). Nonetheless, pursuant to Rule

54(d) of the Federal Rules of Civil Procedure, the prevailing party is entitled to an award of costs

other than attorney’s fees unless a federal statute, the Federal Rules of Civil Procedure or a court



15
   See, U.S. Fire Insurance Co. (Attachment V), p. 9 (when the victim assumes the portion of liability that is attributed to the
released co-causer “the other co-causers of the damage cannot recover from the released co-causer an[y] amount
whatsoever”)(emphasis added); Sagardía de Jesús (Attachment VI), p. 7 (by the victim’s “assuming the share of liability attributed
to the released tortfeasor, the remaining tortfeasors cannot recover anything from the released tortfeasor”)(emphasis added).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 30 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 30


order provides otherwise.                 See, Fed.R.Civ.P. 54(d)(awarding of costs to prevailing party).

Likewise, Rule 44.1(d) of the Puerto Rico Rules of Civil Procedure provides in part that: “[i]n the

event any party or its lawyer has acted obstinately or frivolously, the court shall, in its judgment,

impose on such person the payment of a sum for attorney’s fees which the court decides

corresponds to such conduct.” P.R. Laws Ann. tit. 32, App. V, R. 44.1.16 Rule 44.1(d) has

substantive effect. See, Servicios Comerciales Andinos, S.A. v. General Elec. Del Caribe, Inc.,

145 F.3d 463, 478 (1st Cir. 1998)(recognizing substantive character of Rule 44.1(d)); Gómez, 819

F.3d at 23 (similar). In a diversity case in which the substantive law of Puerto Rico supplies the

basis of decision, a federal court applies Rule 54(d) in connection with costs and Rule 44.1(d) as

to attorney’s fees.

          The purpose behind Rule 44.1(d) is not to compensate the prevailing party, but to penalize

a losing party that because of its obstinacy and insistent frivolous attitude has forced the other

party to assume the pains, costs, efforts, and inconveniences of a litigation, needlessly. See,

Candelario, 2016 WL 1275038 at **30-31 (discussing Rule 44.1(d)). For this reason, attorney’s

fees are payable only if the offending party’s behavior results in a litigation that could have been

avoided, or prolongs the litigation needlessly, or obligues the other party to embark on needless

procedures. Id. at 31. Still, the mere fact that a party prevails before a jury does not, without more,

entitle it to an award of attorney’s fees. See, Reyes v. Banco Santander de Puerto Rico, 583 F.Supp.

1444, 1446 (D.P.R. 1984)(articulating and applying concept). That the fruit of its labor was

successful does not mean the opponent was obstinate. Id. at 1445-1446. Once the court determines

that a party has been obstinate, however, the imposition of attorney’s fees and prejudgment interest


16
  Similarly, Rule 44.3(b) of the Puerto Rico Rules of Civil Procedure imposes pre-judgment interest on obstinate non-prevailing
parties. See, P.R. Laws Ann. tit. 32, App. V, R. 44.4(b)(so decreeing).
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 31 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 31


is obligatory. Id. Assessment of obstinacy must be made within the context of the case as a whole.

See, Candelario, 2016 WL 1275038 at *34 (examining proposition).

          From this perspective, when a settling tortfeasor is adjudged a percentage of responsibility,

the plaintiff subrogates herself in the settling tortfeasor’s position. See, Gómez, 819 F.3d at 22 &

n.4 (examining effect of settlement agreement). And in general, one who rests on subrogation

“stands in the place” of one whose claim he has paid or absorbed. See, U.S. v. Munsey Trust Co.

of Washington, D.C., 332 U.S. 234, 242 (1947). The rights to which the subrogee succeeds are

the same as, but no greater than those of the person for whom he is substituted. See, Bales v.

Warren County, 478 N.W. 2d 398, 400 (Iowa 1991)(describing subrogation).

          The subrogee cannot acquire any claim, security or remedy the subrogor did not have. Id.

But the rights, claims, and securities to which it succeeds are taken subject to the limitations,

burdens, and disqualifications incident to them in the hands of the party to whom it is subrogated.

Id. As a result, assuming Cybex prevailed in the litigation and were able to support a colorable

claim against the settling defendants under Rule 44.1(d), the settlement agreement between

plaintiffs and the settling defendants would not prevent Cybex from moving for recovery of costs

as a prevailing party under Rule 54(d), and of attorney’s fees against plaintiffs as defendants’

subrogees under Rule 44.1(d).

                                                    III.       CONCLUSION

          In view of the foregoing, the settling defendants’ motion for summary judgment (Docket

No. 236) is GRANTED and the Universal defendants’ motion for summary judgment (Docket No.

279) is DENIED. The name of all defendants will be individually included on the verdict from in

order to allow the jury to properly allocate liability as to each of them. The third-party claims

against the settling defendants are hereby dismissed.
Case 3:15-cv-02989-PAD Document 467 Filed 09/30/18 Page 32 of 32
Neslie I. Bernardi Ortiz, et al. v. Cybex International, Inc., et al.
Civil No. 15-2989 (PAD)
Opinion and Order
Page 32


          SO ORDERED.

          In San Juan, Puerto Rico, this 30th day of September, 2018.

                                                                        s/Pedro A. Delgado-Hernández
                                                                        PEDRO A. DELGADO-HERNÁNDEZ
                                                                        U.S. DISTRICT JUDGE
